       Case 2:21-cv-00318-KG-SMV Document 22 Filed 12/03/21 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

SAMUEL CONTRERAS

       Plaintiff,

v.                                                         Civ. No. 2:21-00318 KG-SMV

CHRISTINE WORMUTH, in her official
capacity as SECRETARY OF THE ARMY,

Defendant.


       ORDER GRANTING JOINT MOTION TO EXTEND PRETRIAL DEADLINES

       This matter comes before the Court on the parties’ Joint Motion to Extend Pretrial

Deadlines, filed December 2, 2021 (Doc. 21). The Court, having considered the motion, finds

good cause to grant the Motion.

       WHEREFORE, IT IS HEREBY ORDERED that the parties’ Joint Motion to Extend

Pretrial Deadlines, filed June 16, 2021 (Doc. 21) is granted, and the Scheduling Order is

modified as follows:

       a)      Plaintiff’s Expert Disclosures – November 3, 2021 to January 15, 2022.

       b)      Defendant’s Expert Disclosures – December 3, 2021 to February 15, 2022.

       c)      Termination date for discovery – from January 4, 2022 to March 15, 2022.

       d)      Motions relating to discovery – from January 24, 2022 to April 5, 2022.

       e)      Pretrial motions other than discovery motions (including motions which may

               require a Daubert hearing) – from February 3, 2022 to May 16, 2022.
        Case 2:21-cv-00318-KG-SMV Document 22 Filed 12/03/21 Page 2 of 2




        The deadlines for submitting the pretrial order will be reset 60 days prior to trial.

        IT IS SO ORDERED.


                                                        ___________________________________
                                                                JUDGE STEPHAN M. VIDMAR
                                                                  United States Magistrate Judge


Submitted and Approved by:

/s/ approved via email 12.2.21
LETICIA DOMINGUEZ
The Dominguez Law Firm PLLC
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-and-

/s/ Erin Langenwalter
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Attorneys for Defendant




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